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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

       v.                                                    Civ. No. 1:20-cv-00454-SWS-MLC

$9,950.00 IN UNITED STATES CURRENCY,

$2,000.00 IN UNITED STATES CURRENCY,

$1,243.00 IN UNITED STATES CURRENCY,

               Defendants-in-rem.

and

ROBERT PADILLA,

               Claimant.

UNITED STATES’ RESPONSE TO CLAIMANT PADILLA’S MOTION TO DISMISS

       Claimant Robert Padilla has filed a motion to dismiss the complaint for forfeiture. (Doc.

3). He contends that the complaint fails to state a claim upon which relief can be granted. His

motion is without merit for two reasons. First, claimant has failed to establish statutory standing

to contest this action or move to dismiss. Second, the complaint sets forth a sufficient legal and

factual basis for the relief sought. Accordingly, his motion should be denied. 1




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 The United States has filed a contemporaneous motion to strike Claimant Padilla’s answer for
for failure to file a claim as required by Supplemental Rule G(5)(a)(i). Pursuant to Supp. R.
G(8)(c)(ii)(A), if the Government moves to strike an answer for failing to comply with Supp. R.
G(5), the Government’s motion “must be decided before any motion by the claimant to dismiss
the action.”
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  I.   INTRODUCTION AND FACTS

    The United States filed a complaint for forfeiture in rem against the defendant property on

May 12, 2020. (Doc. 1). The complaint seeks forfeiture, pursuant to 21 U.S.C. § 881(a)(6), of

three sums of currency Drug Enforcement Administration (DEA) agents discovered during the

execution of federal search and seizure warrants.

       In relevant part, the complaint alleges as follows:

       On August 15, 2019, agents with the DEA Region 1 Task Force executed a federal search

and seizure warrant at the Best Western Plus Montezuma Inn & Suites, Room 310A, located at

2020 North Grand Ave, Las Vegas, New Mexico. Room 310-A was registered in the name of

Sharlett M. Martinez. During the search, Special Agent Thomas Long discovered $9,950 in U.S.

currency in Ms. Martinez’s purse. Ms. Martinez told Agent Long that Robert Corbin Padilla had

given her the money. Mr. Padilla had been indicted on drug trafficking charges. DEA TFO Jason

D. Franklin deployed a canine trained and certified to detect the odor of illegal controlled

substances. The canine alerted positively to the $9,950 in currency. (Doc. 1, ¶¶ 7-10).

       On August 12, 2019, the DEA Group 3 Task Force, assisted by the Albuquerque Police

Department, executed a federal search and seizure warrant at 8407 San Juan Road NE,

Albuquerque, New Mexico, the residence of Robert Corbin Padilla, Agents removed a black

2008 GMC Yukon from the public roadway in front of the residence and transported it to the

Albuquerque Office of the DEA for further inspection. The Yukon XL was registered to Robert

Corbin Padilla, Agents discovered a bundle of U.S. Currency totaling $1,243.00 in the center

console. The Yukon XL was used by Robert Corbin Padilla on March 30, 2019, and again on

April 10, 2019, to facilitate the distribution of multiple controlled substances. (Doc, 1, ¶ 11).

(Although inadvertently omitted from the complaint, DEA TFO Jason D. Franklin deployed a



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canine trained and certified to detect the odor of illegal controlled substances. The canine alerted

positively to the $1,243.00 in currency.).

       Agents also discovered a bundle of currency totaling $2,000 in a 2008 Nissan Armada

parked at Padilla’s residence at 8407 San Juan Road NE. The trained and certified drug odor

detection canine odor alerted positively to the $2,000 in currency. (Doc. 1, ¶ 12-13). Padilla is

not claiming this currency. (Doc. 4, ¶ 13).

 II.   NATURE OF ASSET FORFEITURE IN REM

       This is an in rem civil asset forfeiture case. (Doc. 1). In such a case, the United States is

the plaintiff, the property/asset is the defendant and the claimant is an intervenor seeking to

challenge the forfeiture of the defendant property. United States v. $148,840 in U.S. Currency,

521 F.3d 1268, 1273 (10th Cir. 2008); Via Mat International South America, Ltd. v. United

States, 446 F.3d 1258, 1264 (11th Cir. 2006) (a civil forfeiture proceeding is not an action

against the claimant but rather is an in rem action against the property); United States v. All

Funds in Account Nos. 747.034/278(Banco Espanol de Credito), 295 F.3d 23, 25 (D.C. Cir.

2002) (“Civil forfeiture actions are brought against property, not people. The owner of the

property may intervene to protest his interest.”).

III.   STANDING

    A. STANDING IS A THRESHOLD ISSUE

       As an intervenor, Robert Padilla must establish that he has standing to contest the

forfeiture. Standing is a threshold issue in every federal civil forfeiture case. United States v.

$148,840 in U.S. Currency, 521 F.3d 1268, 1273 (10th Cir. 2008); Via Mat International South

America, Ltd. v. United States, 446 F.3d 1258, 1261 (11th Cir. 2006) (Standing “is the threshold

question in every federal case, determining the power of the Court to entertain the suit”), quoting



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Warth v. Seldin, 422 U.S. 490, 498 (1975); United States v. $38,570 in U.S. Currency, 950 F.2d

1108, 1111 (5th Cir. 1992) (standing is a threshold question on which the claimant “bears the

burden of demonstrating an interest in the seized item sufficient to satisfy the Court of his

standing”).

       Article III standing and statutory standing are different things. United States v. $148,840

in United States Currency, 521 F.3d 1268, 1273, n.3 (10th Cir. 2008). Article III standing

depends on the existence of a case or controversy. Statutory standing requires compliance with

certain procedural imperatives. Id., citing United States v. $8,221,877.16 in United States

Currency, 330 F.3d 141, 150, n.9 (3d Cir. 2003). Supplemental Rule G of the Supplemental

Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions sets forth the procedural

requirements for actions in rem arising from a federal statute. Supp.R. G(1).

   B. PERTINENT SUPPLEMENTAL RULE G PROVISIONS

       Supplemental Rule G(5)(a)(i)(A)-(D) requires the filing a claim to contest a civil

forfeiture action in rem and specifies what the claim must contain:

       (a) Filing a Claim.

           (i) A person who asserts an interest in the defendant property may contest the

forfeiture by filing a claim in the court where the action is pending. The claim must:

               (A) identify the specific property claimed;
               (B) identify the claimant and state the claimant’s interest in the property;
               (C) be signed by the claimant under penalty of perjury; and
               (D) be served on the government attorney designated under Rule G(4)(a)(ii)(C) or
                   (b)(ii)(D). ....


       Supp.R. G(8)(b)(i) provides that only a claimant who establishes standing to contest the

forfeiture may move to dismiss the complaint under Rule 12(b). At any time before trial, the

government may move to strike a claim or answer for failing to comply with Rule G(5) or (6) or

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because the claimant lacks standing. Supp.R. G(8)(c)(i)(A) and (B). The government’s motion

to strike must be decided before any motion by claimant to dismiss the action. Supp.R. Rule

G(8)(c)(ii)(A).


   C. ROBERT PADILLA LACKS STATUTORY STANDING TO CONTEST THIS ACTION AND TO
      MOVE FOR DISMISSAL OF THE COMPLAINT
       To achieve statutory standing in the context of a civil forfeiture action, a claimant must

comply with the all the pleading requirements of Supplemental Rule G(5). See United States v.

$148,840.00 in U.S. Currency, 521 F.3d 1268, 1273 n.3 (10th Cir. 2008); United States v.

$11,981.00, No. 03-5679, 2007 WL 3037307, at *6 (E.D.Cal. Oct. 17, 2007) (failure to comply

with Rule G(5) means that the claimant lacks standing). Padilla failed to file the claim required

by Rule G(5)(a)(i)(A)-(D). Therefore, he lacks statutory standing to contest this action. See

United States v. $154,853.00 in U.S. Currency, 744 F.3d 559, 562-63 (8th Cir. 2014).

       Supplemental Rule G(8)(b)(i) provides that only a claimant who establishes standing to

contest the forfeiture may move to dismiss the complaint. Padilla lacks standing. Therefore, his

motion to dismiss is improper. See United States v. $417,143.78, more or less, in U.S. Currency,

682 Fed. Appx. 17 (2nd Cir. 2017) (district court properly declined to consider motion to dismiss

filed by claimant who filed a late, unverified claim; Rule G(8)(b) requires claimant to establish

standing before he may file a motion to dismiss), affirming United States v. $417,143.78, more

or less, in U.S. Currency, 2015 WL 5178121 (E.D.N.Y. Sept. 2, 2015); United States v.

Approximately $94,600 U.S. Currency, 2015 WL 5254542, *9 (E.D. Wis. Sept. 9, 2015) (same);

United States v. Real Property Located at 5294 Bandy Road, 2014 WL 5513748, *5 (D. Idaho

Oct. 31, 2014) (“The court may consider the merits of the claimant’s motion to dismiss the

forfeiture action only if the claimant has standing;”); United States v. Various Vehicles, Funds

and Real Property Described in Attachment A, 2011 WL 6012424, *4 (D.S.C. Oct. 25, 2011) (a

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person may not file a motion to dismiss the complaint without first filing a claim and establishing

statutory standing).

       Contemporaneous with this response, the United States has filed a motion to strike

Padilla’s answer for failure to comply with Rule G(5). The government’s motion must be

decided before the claimant’s motion to dismiss. Supp.R. Rule G(8)(c)(ii)(A).

IV.    THE COMPLAINT IN REM STATES A CLAIM FOR RELIEF

       Supplemental Rule G(8)(b)(ii) provides that “the sufficiency of the complaint is governed

by Rule G(2).” Supplemental Rule G(2) sets forth what a civil forfeiture complaint must

contain. Among other things, the complaint must describe the property subject to forfeiture, set

forth the basis for jurisdiction and venue, name the statutory authority on which the forfeiture

action is based, and “state sufficiently detailed facts to support a reasonable belief that the

Government will be able to meet its burden of proof at trial.” Rule G(2)(a)-(f). The quoted

language, which appears in Rule G(2)(f), is a codification of the Fourth Circuit’s decision in

United States v. Mondragon, 313 F.3d 862 (4th Cir. 2002), which established the standard for

filing a civil forfeiture complaint under the predecessor to Rule G. See United States v.

$36,110.00 in U.S. Currency, 2009 WL 692830, *4 (D.S.C. Mar. 12, 2009) (the “reasonable

belief” standard in Rule G(2)(f) carries forward the standard for the sufficiency of a complaint

under Rule E(2)(a) as interpreted by Mondragon); United States v. $79,650 Seized from . . .

Afework, 2009 WL 331294, *3 (E.D. Va. Feb. 9, 2009) (to withstand a motion to dismiss, the

complaint need only satisfy Rule G(2)(f), which carriers forward the Areasonable belief” standard

from Mondragon).

       Accordingly, a complaint is sufficient, and a motion to dismiss the complaint must be

denied, if the complaint satisfies the “reasonable belief” standard in Rule G(2)(f). See United



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States v. $74,500 in U.S. Currency, 2011 WL 2712604, *2 (D. Md. July 11, 2011). As the court

said in $74,500, the Government does not have to prove its case just to get in the courthouse

door; it need only show that the facts set forth in the complaint as sufficient to create a

reasonable belief that the Government will be able to meet its burden of proof at trial. Id.

(emphasis added). See also Rule G(8)(b)(ii) (“the complaint may not be dismissed on the ground

that the Government did not have adequate evidence at the time the complaint was filed to

establish the forfeitability of the property”).

        Contrary to Claimant’s argument, the Rule 12(b)(6) plausibility pleading standard set

forth in Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft v. Iqbal, 556 U.S. 662

(2009) does not apply in civil forfeiture cases. Civil asset forfeiture proceedings are governed by

both the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions and

the Federal Rules of Civil Procedure. United States v. $263,327.95, 936 F. Supp.2d 468 (D.N.J.

2013), citing United States v. $8,221,877.16 in U.S. Currency, 330 F.3d 141, 149 (3d Cir.2003).

The Civil Rules, however, apply to in rem proceedings only to the extent that they are not

inconsistent with the Supplemental Rules. Supp.R. A(2).

        Supplemental Rule R. G(8)(b)(i) provides that a claimant who establishes standing to

contest forfeiture may move to dismiss the action under Fed.R.Civ.P. 12(b). However,

Supp.R.G(2) provides the reasonable belief standard against which the sufficiency of a forfeiture

complaint must be measured. Grafting Civil Rule 12(b)’s plausibility standard onto Supp.R. G(2)

would be inconsistent with the framework of Supp,R. G(2). Therefore, the plausibility standard

does not apply to civil in rem complaints. See United States v. $263,327.95, 936 F. Supp.2d 468

(D.N.J. 2013) and United States v. $22,173.00 in U.S. Currency, No. 09–7386, 2010 WL

1328953, at *2 (S.D.N.Y. Apr. 5, 2010). See also $134,972.34 Seized from FNB Bank, 94 F.



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Supp.3d 1224, 1229 (N.D. Ala. 2015) (Because Supplemental Rule G(2) governs the pleading

standard for civil asset forfeiture cases, rather than Federal Rule of Civil procedure 8, the

standard enunciated and clarified in Twombly and Iqbal does not govern the sufficiency of such

complaints) and United States v. Real Property Known as . . . 19211 Grey Bluff Cove, 2016 WL

1255742, *2 (W.D. Tex. Mar. 29, 2016) (the pleading standard in Rule G(2) is higher than the

standard under Rule 12(6), so if the complaint satisfies the former, it satisfies the latter);.

         The United States’ ultimate burden of proof in a civil forfeiture action is to establish by a

preponderance of the evidence that the property is subject to forfeiture. 18 U.S.C. § 983(c)(1);

United States v. Lot Number 1 of Lavaland Annex, 256 F.3d 949, 956 (10th Cir. 2001). In a

forfeiture brought under 21 U.S.C. § 881(a)(6), the government bears the burden to prove by a

preponderance of the evidence that the currency at issue constituted the proceeds of drug

offenses or was used or intended to be used to facilitate a drug offense. United States v. U.S.

Currency Totaling $101,207.00, No. CV 101-162, 2007 WL 4106262, at *5 (S.D. Ga. Nov. 16,

2007).

         At the pleading stage, however, the Government does not have to set forth all of its

evidence, or even enough evidence to show that it will prevail; it is sufficient to show that,

following discovery, it is reasonable to believe that the Government will be able to meet its

burden of proof. If the Government had to have sufficient evidence at the time it filed its

complaint to prevail on the merits at trial, the provision the statutory provision, 18 U.S.C.

§ 983(a)(3)(D), permitting the Government to rely on evidence gathered after the filing of the

complaint would be meaningless. United States v. Real Property Located at 5208 Los Franciscos

Way, 385 F.3d 1187, 1193 (9th Cir. 2004). “It is sufficient for the Government to simply plead

enough facts for the claimant to understand the theory of forfeiture, to file a responsive pleading,



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and to undertake an adequate investigation.” United States v. $506,069.09 Seized From First

Merit Bank, 664 F. App'x 422, 434 (6th Cir. 2016), cert. denied sub nom. Akhtar-Zaidi v. United

States, 137 S. Ct. 2249 (2017) (citation omitted). In addition, a complaint need only “contain

either direct or inferential allegations respecting all material elements to sustain a recovery under

some viable legal theory.” Id.

       When claimant moves to dismiss a complaint under Rule G(8)(b), the court must treat all

facts alleged in the complaint as true and construe them in the light most favorable to the

Government. United States v. $22,800.00 in U.S Currency, 2018 WL 3738962 (C.D. Cal. Jul. 25,

2018). The facts alleged in the Complaint are sufficient to support a reasonable belief that the

Government will be able to establish at trial that the seized currency is subject to forfeiture per

21 U.S.C. § 881(a)(6).

       Padilla mischaracterizes the government’s complaint as being limited to the following

allegations: “Mr. Padilla has been arrested and charged with violations of the Controlled

Substances Act and some of Mr. Padilla’s money was seized.” (Padilla mot. at p. 4).

       The complaint explains that agents executed federal search and seizure warrants. On

August 15, 2019, agents executed a warrant on the hotel room registered to and occupied by

Sharlett Martinez. She had $9,950 in currency in her purse. She said Padilla had given the money

to her. Contrary to Padilla’s assertions, the complaint does not allege that he “owned” the

currency. (See Doc. 3 at p. 9). Padilla had been indicted for drug trafficking crimes.

       Moreover, a canine trained and certified to detect the odor of illegal controlled substances

alerted positively to the $9,950 in currency. Courts have recognized the highly probative value of

a properly trained drug detection canine’s alert to cash. See, e.g., United States v. $30,670 in U.S.

Funds, 403 F.3d 448, 462 (7th Cir. 2005); United States v. $22,474 in U.S. Currency, 246 F.3d



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1212, 1216 (9th Cir. 2001). The demonstrated reliability of a particular dog is sufficient to

establish the probative value of that dog=s alert to the seized property or its container. See United

States v. $21,175.00 in U.S. Currency, 521 Fed. Appx. 734, 740 (11th Cir. 2013).

        Padilla may assert, as he did in his answer (Doc. 4, ¶ 10), that the drug canine’s alert to

currency lacks probative value because all currency is contaminated with trace amounts of

narcotics. The burden is on claimant to offer evidence in support of his “contamination theory”

on the merits. Id., see also United States v. $65,020 U.S. Currency, 2018 WL 5635109, *3 n.3

(D.N.M. Oct. 31, 2018) (collecting cases rejecting the contaminated currency theory). A

contaminated currency theory is of no moment in determining whether the complaint satisfies the

reasonable belief standard.

        With regard to the $1,243 in currency agents found in the console of a Yukon XL

registered to Padilla and parked at his residence, Claimant ignores the complaint’s allegation that

Padilla had used the Yukon in March and April 2019 to facilitate distribution of multiple illegal

controlled substances. Concealed currency in a vehicle used to facilitate drug trafficking crimes

is evidence that the currency constitutes drug proceeds or facilitated illegal drug trafficking. Such

evidence supports a reasonable belief that the Government will be able to meet its burden of

proof at trial. As noted in the introduction to this response, the fact that a drug odor detection

canine alerted positively to the $1,243 in currency was inadvertently omitted from the complaint.

However, the complaint does allege that the canine alerted positively to $2,000 in currency found

in a 2008 Nissan also parked at Padilla’s residence. This alert is probative evidence of the

connection between currency found in vehicles parked at Padilla’s residence and illegal drug

trafficking.




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       Claimant seems to assert that the complaint is insufficient because it does not identify

specific drug transactions connected to the money. (Doc. 3 at p.9). Proof of a specific transaction

is not required at the pleading stage or on the merits. In a forfeiture action, the court examines

the totality of the facts to determine whether the United States has met its burden under the

statute. See United States v. $252,300.00 in U.S. Currency, 484 F.3d 1271, 1274-75 (10th Cir.

2007) (quantity of currency, packaging with rubber bands in plastic bags, inconsistent statements

and lack of documentary support for explanation, and odor of marijuana establish forfeitability);

“Even where “no particular circumstance is conclusive, “it is the ‘aggregate’ of the facts” that is

examined. A court gives weight to the inferences the law enforcement agent draws from the

facts as the Supreme Court has instructed.” United States v. $242,484, 389 F.3d 1149, 1160

(11th Cir. 2004) (en banc); see Ornelas v. United States, 517 U.S. 690-99 (1996). The presence

or absence of any single factor is not dispositive. See United States v. $149,442.43 in U.S.

Currency, 965 F.2d 868, 876-877 (10th Cir.1992). United States v. $242,484, 389 F.3d at 1160.

The government need not trace the property to a specific drug transaction but must demonstrate

only that the property more likely than not was related to some illegal drug transaction. Id.

   Dismissal of a complaint for failure to state a claim is generally without prejudice. See, e.g.,

United States v. Sum of $70,990,605, 4 F.Supp.3d 189, 195 n.1, (D.D.C. 2014). Accordingly, if

the Court determines that the complaint does not meet the reasonable belief standard, it would be

appropriate to dismiss the complaint without prejudice. Moreover, the court may allow the

Government to amend the complaint to cure a defect that might otherwise require the court to

grant a motion to dismiss under Rule G(8)(b). See United States v. $24,290.00 in U.S. Currency,

2018 WL 6436435 (N.D. Tex. Dec. 6, 2018) (amendments to complaints are routine;

Government allowed to amend complaint to allege facts that support its invoking the fungible



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property statute, § 984); United States v. Approximately $77,000.00 in U.S. Currency, 2013 WL

6842889 (E.D. Cal. Dec. 20, 2013) (permitting the Government to amend its complaint under

Rule 15 to add a verification page; the amendment relates back to the original filing date for

purposes of complying with the 90-day CAFRA deadline); and United States v. Item 1: A 1990

Jeep Cherokee, 147 Fed. Appx. 775, 778 (10th Cir. 2005) (district court did not err in allowing

Government to amend civil forfeiture complaint to include additional theory of forfeiture—i.e.,

that property is forfeitable under section 981(a)(1)(B) as proceeds of a foreign drug offense; such

amendments should be freely allowed).

V.     CONCLUSION

       Claimant lacks statutory standing to contest this forfeiture action and the complaint states

a claim for relief. Accordingly, his motion to dismiss the complaint should be denied in all

respects. In the alternative, the United States should be permitted to amend the complaint.



                                                     Respectfully Submitted,


                                                     JOHN C. ANDERSON
                                                     United States Attorney

                                                     Electronically filed on 8-5-2020

                                                     STEPHEN R. KOTZ
                                                     Assistant United States Attorney
                                                     P.O. Box 607
                                                     Albuquerque, NM 87103
                                                     (505) 346-7274




                                CERTIFICATE OF SERVICE




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I HEREBY CERTIFY that I filed the foregoing pleading electronically through the CM/ECF
system, which caused the parties or counsel to be served by electronic means, as more fully
reflected in the Notice of Electronic Filing.


___/s/______________________
STEPHEN R. KOTZ
Assistant U.S. Attorney




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